  Case 2:07-md-01873-KDE-MBN Document 13201-7 Filed 04/06/10 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                              MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                             SECTION “N-5"

                                                         JUDGE ENGELHARDT


THIS DOCUMENT IS RELATED TO:
Charlene McBroom v American Camper
Manufacturing, LLC d/b/a Ameri-Camp, et al,
Case No. 2:10

______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Considering the foregoing Motion of Plaintiff Charlene McBroom, she is allowed an

additional sixty (60) days or until __________________, 2010, to serve Defendant American

Camper Manufacturing, LLC.

       IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

Extension of Time to Serve.

       DATED this ____ day of _______________,2010 in New Orleans, Louisiana.



                                          By:    ____________________________________
                                                 KURT D. ENGELHARDT
                                                 UNITED STATES DISTRICT JUDGE


Submitted By:
Rose M. Hurder
Hawkins Stracener & Gibson, PLLC
153 Main Street
Bay St. Louis, MS 39520
Ph: (228)467-4225
Fax: (228)467-4212
rose@hsglawfirm.net
